                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                              1:07cr122-1

UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )           ORDER
                                                    )
BOBBY LEE MEDFORD.                              )
_______________________________                 )

      THIS MATTER is before the court on defendant’s Motion to Substitute

Counsel and oral Motion to Strike Requirement to Reimburse Fees.        On November

18, 2008, the district court delegated to the undersigned such motions. The court notes

that based on preliminary review of the written motion that it does not reflect

consultation with Mr. Medford and his opinion on withdrawal. Having considered

defendant’s motions and reviewed the pleadings, the court enters the following Order.




                                       ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion to Substitute

Counsel (#253) and oral Motion to Strike Requirement to Reimburse Fees is

CALENDARED for hearing on December 4, 2008, at 2 p.m. in Asheville.




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      In addition to counsel of record, the court requests the presence and input from

a supervisory member of the community defender’s office and Ms. Victoria Jane at

such hearing. The Clerk of this court is respectfully requested to provide such persons

with notice.




      The United States Marshal is advised that Mr. Medford needs to be present for

such hearing.




                                           Signed: November 18, 2008




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